 4:07-cr-03117-RGK-DLP        Doc # 55     Filed: 12/10/07     Page 1 of 1 - Page ID # 183


                     IN THE UNITED STATES DISTRICT COURT
                         FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                     )          4:07CR3117
                                              )
                     Plaintiff,               )
                                              )
       vs.                                    )
                                              )          ORDER
SANTIAGO ALMAZAN-RIOS,                        )
                                              )
                     Defendant.               )

      IT IS ORDERED that the defendant’s motion to reconsider (filing 54) is granted. The
defendant shall have until December 17, 2007, to file an objection and supporting brief to the
undersigned’s December 5 order (filing 53).

       December 10, 2007.                  BY THE COURT:

                                           s/ Richard G. Kopf
                                           United States District Judge
